Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                     Doc 15 Filed
                               Document
                                  04/11/035-5Entered
                                                Filed 04/11/03
                                                      03/07/25 14:53:37
                                                                 Page 1 ofDesc
                                                                           15 Main
                            Document Page 1 of 5



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                              )    CASE NO. 03-93031-mhm
                                                    )
GROUP MANAGEMENT CORP.,                             )    Chapter 11
a/k/a IVG CORP.,                                    )
                                                    )    JUDGE MARGARET H. MURPHY
               Debtor.                              )
                                                    )
----------------------------------------------------)

                        EMERGENCY MOTION TO DISMISS
                  OR, IN THE ALTERNATIVE, FOR RELIEF FROM
          THE AUTOMATIC STAY, AND REQUEST FOR EMERGENCY HEARING

           Alpha Capital Aktiengesellschaft (“Alpha”), Amro International, S.A. (“Amro”),

Markham Holdings, Ltd. (“Markham”), and Stonestreet Limited Partnership (“Stonestreet”)

(hereinafter referred to as “Movants”) bring this Emergency Motion to Dismiss, or in the

Alternative, for Relief from the Automatic Stay (the “Motion”), and state as follows:

           1.        The facts and law supporting this Motion are more fully set forth in the Brief

and Exhibits filed concurrently herewith and incorporated herein by reference.

           2.        Movants are creditors of the Debtor. On or about February 2, 2001, Movants

purchased notes from the Debtor in an aggregate principal amount in excess of $1 million.

The Debtor has failed to satisfy its obligations under the notes and related subscription

agreements.

           3.        As described in the Brief, this case was filed by the Debtor solely for the

purpose of evading compliance with the Order and Judgment of the United States District

Court for the Southern District of New York, entered on November 25, 2002 (the “Order and

Judgment”), and the contempt order issued by the United States District Court for the


ATLLIB01 1507769.5
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                     Doc 15 Filed
                               Document
                                  04/11/035-5Entered
                                                Filed 04/11/03
                                                      03/07/25 14:53:37
                                                                 Page 2 ofDesc
                                                                           15 Main
                            Document Page 2 of 5



Southern District of New York on March 13, 2003 (the “Contempt Order”) following the

Debtor’s failure to comply with terms of the Order and Judgment and the failure of its

representatives to appear for hearing before the District Court. Copies of the Order and

Judgment and Contempt Order are attached as Exhibits A and B, respectively, to the

concurrently filed Brief.

           4.        The Debtor’s bad faith in filing this Chapter 11 case is demonstrated by the

following:

                     a)     This Chapter 11 case was filed on March 18, 2003, five days after entry

of the Contempt Order, which, among other things, provided for the arrest and incarceration

of Thomas Ware, one of the Debtor’s directors (Mr. Ware signed as the Chief Executive

Officer of the Debtor on a Form 8 -K filed by the Debtor with the Securities and Exchange

Commission on the petition date, March 18, 2003. The Form 8-K reports that Mr. Ware

purportedly resigned from the Board of Directors of the Debtor on March 17, 2003, the day

prior to the filing of this case. A copy of the Form 8 -K is attached as Exhibit C to the

concurrently filed Brief.);

                     b)     The attorney initially purporting to represent the Debtor in filing this

Chapter 11 case was Mr. Ware, who has been suspended from practice in the Northern

District of Georgia, causing this Court to issue an order requiring the Debtor to obtain

counsel admitted to practice and currently in good standing in the Northern District of

Georgia;

                     c)     The Debtor failed to file its Schedules of Assets and Liabilities and its

Statement of Financial Affairs on the petition date (March 18, 2003) and, as of the date of




ATLLIB01 1507769.5                                  -2-
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                     Doc 15 Filed
                               Document
                                  04/11/035-5Entered
                                                Filed 04/11/03
                                                      03/07/25 14:53:37
                                                                 Page 3 ofDesc
                                                                           15 Main
                            Document Page 3 of 5



this motion, has not yet filed those documents as required by Rule 1007(c) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”);

                     d)     The Debtor has moved on an emergency basis, without identifying any

basis for emergency relief, to reject the contracts on which the Order and Judgment are

based, even though the Movants’ obligations under those contracts have been fully

performe d and the Debtor’s obligations thereunder are now fixed by and subject to the

Orders of the United States District Court for the Southern District of New York;

                     e)     The Debtor has, at most, identified only two creditors other than the

Movants; and,

                     f)     The Debtor has virtually no assets (approximately $150,000 as set forth

in the petition) and no ongoing business operations.

           5.        Plainly, this case was not commenced for the purpose of reorganization, but to

evade compliance with the Order and Judgment and Contempt Order of the United States

District Court for the Southern District of New York. Consequently, pursuant to 11 U.S.C. §

1112(b) and 11 U.S.C. § 305(a), this Court should dismiss the Debtor’s Chapter 11 case

because it has been filed in bad faith.

           6.        In the alternative, should this Court determine not to dismiss the Debtor’s

Chapter 11 case, the Movants request, pursuant to 11 U.S.C. § 362(d), relief from the

automatic stay of 11 U.S.C. § 362(a) in order to enforce the Orders of the United States

District Court for the Southern District of New York.

                                    Request for Emergency Hearing

           7.        To further its efforts to evade compliance with the Order and Judgment and

the Contempt Order, the Debtor has filed an Emergency Motion to reject the contractual


ATLLIB01 1507769.5                                  -3-
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                     Doc 15 Filed
                               Document
                                  04/11/035-5Entered
                                                Filed 04/11/03
                                                      03/07/25 14:53:37
                                                                 Page 4 ofDesc
                                                                           15 Main
                            Document Page 4 of 5



arrangements between the Debtor and the Movants. The Movants vigorously dispute

whether any such emergency exists. In any event, the Movants may be irreparably harmed if

the Debtor’s emergency motion, which is scheduled to be heard on Tuesday, April 15, 2003,

is heard in isolation from this Motion, which accurately sets forth the circumstances under

which this case was filed. Accordingly, the Movants request that this motion be heard

forthwith and in any event prior to the hearing of the Debtor’s rejection motion.

           WHEREFORE, the Movants respectfully request that this Court dismiss the Debtor’s

Chapter 11 case, or, in the alternative, grant relief from the automatic stay to enable the

Movants to enforce the Orders of the United States District Court for the Southern District of

New York.

Dated: April 11, 2003                            Respectfully submitted,



                                                        /s/ Dennis S. Meir
                                                 Dennis S. Meir - Georgia Bar No. 501100
                                                 John W. Mills, III -California Bar No. 149861

                                                 KILPATRICK STOCKTON LLP
                                                 1100 Peachtree Street, Suite 2800
                                                 Atlanta, Georgia 30309
                                                 Telephone: (404) 815-6500
                                                 Facsimile: (404) 815-6555

                                                 COUNSEL TO ALPHA CAPITAL
                                                 AKTIENGESELLSCHAFT, AMRO
                                                 INTERNATIONAL, S.A., MARKHAM
                                                 HOLDINGS, LTD., AND STONESTREET
                                                 LIMITED PARTNERSHIP




ATLLIB01 1507769.5                             -4-
Case 03-93031-bem
      Case 1:25-cv-00613-MLB
                     Doc 15 Filed
                               Document
                                  04/11/035-5Entered
                                                Filed 04/11/03
                                                      03/07/25 14:53:37
                                                                 Page 5 ofDesc
                                                                           15 Main
                            Document Page 5 of 5



                                   CERTIFICATE OF SERVICE

           I hereby certify that a true copy of this Emergency Motion To Dismiss Or, In The

Alternative, For Relief From The Automatic Stay, And Request For Emergency Hearing was

served by Facsimile on the parties below on April 11, 2003.

                                        Sims W. Gordon, Jr.
                                         Gordon & Boykin
                                  2130 Kingston Court, SE, Suite B
                                        Marietta, GA 30067
                                       Fax: (770) 612-2627

                                         James H. Morawetz
                                 Office of the United States Trustee
                                362 Richard Russell Federal Building
                                        75 Spring Street, SW
                                         Atlanta, GA 30303
                                        Fax: (404) 331-4464

                                         Baker & McKenzie
                                     2300 Trammell Crow Center
                                         2001 Ross Avenue
                                          Dallas, TX 75201
                                        Fax: (214) 978-3099

                                    Boise Cascade Office Products
                                         150 E. Pierce Road
                                           Itasca, IL 60143
                                        Fax: 1 (800) 572-6473

Dated: April 11, 2003                               Respectfully submitted,

                                                           /s/ Dennis S. Meir
KILPATRICK STOCKTON LLP                             Dennis S. Meir
1100 Peachtree Street, Suite 2800                   Georgia Bar No. 501100
Atlanta, Georgia 30309
Telephone: (404) 815-6500                           COUNSEL TO ALPHA CAPITAL
Facsimile: (404) 815-6555                           AKTIENGESELLSCHAFT, AMRO
                                                    INTERNATIONAL, S.A., MARKHAM
                                                    HOLDINGS, LTD., AND STONESTREET
                                                    LIMITED PARTNERSHIP




ATLLIB01 1507769.5                               -5-
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                    Doc 15-1 Document
                                Filed 04/11/03
                                          5-5 Filed
                                               Entered
                                                    03/07/25
                                                        04/11/03Page
                                                                 14:53:37
                                                                     6 of 15Desc
                       Exhibit "A" and "B" Page 1 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                    Doc 15-1 Document
                                Filed 04/11/03
                                          5-5 Filed
                                               Entered
                                                    03/07/25
                                                        04/11/03Page
                                                                 14:53:37
                                                                     7 of 15Desc
                       Exhibit "A" and "B" Page 2 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                    Doc 15-1 Document
                                Filed 04/11/03
                                          5-5 Filed
                                               Entered
                                                    03/07/25
                                                        04/11/03Page
                                                                 14:53:37
                                                                     8 of 15Desc
                       Exhibit "A" and "B" Page 3 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                    Doc 15-1 Document
                                Filed 04/11/03
                                          5-5 Filed
                                               Entered
                                                    03/07/25
                                                        04/11/03Page
                                                                 14:53:37
                                                                     9 of 15Desc
                       Exhibit "A" and "B" Page 4 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                Filed 04/11/03
                                         5-5 Filed
                                               Entered
                                                   03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     10 of 15Desc
                       Exhibit "A" and "B" Page 5 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                Filed 04/11/03
                                         5-5 Filed
                                               Entered
                                                   03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     11 of 15Desc
                       Exhibit "A" and "B" Page 6 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                Filed 04/11/03
                                         5-5 Filed
                                               Entered
                                                   03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     12 of 15Desc
                       Exhibit "A" and "B" Page 7 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                Filed 04/11/03
                                         5-5 Filed
                                               Entered
                                                   03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     13 of 15Desc
                       Exhibit "A" and "B" Page 8 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                Filed 04/11/03
                                         5-5 Filed
                                               Entered
                                                   03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     14 of 15Desc
                       Exhibit "A" and "B" Page 9 of 10
CaseCase
     03-93031-bem
         1:25-cv-00613-MLB
                     Doc 15-1 Document
                                 Filed 04/11/03
                                          5-5 Filed
                                                Entered
                                                    03/07/25
                                                        04/11/03
                                                               Page
                                                                 14:53:37
                                                                     15 of 15Desc
                       Exhibit "A" and "B" Page 10 of 10
